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              8.      The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance, judgments and any
                      other financial gains to the Court-ordered financial obligation.

              9.      The defendant shall not engage, as whole or partial owner, volunteer, intern, consultant, employee or otherwise, in any
                      business involving solicitation or sales of investments or investment programs without the express approval of the Probation
                      Officer prior to engaging in such employment. Further, the defendant shall provide the Probation Officer with access to any
                      and all business records, client lists, and other records pertaining to the operation of any business owned, in whole or in part,
                      by the defendant, as directed by the Probation Officer.

              10. When not employed or excused by the Probation Officer for schooling, training, or other acceptable reasons, the defendant
                  shall perform 20 hours of community service per week as directed by the Probation & Pretrial Services Office.

              11. The defendant shall maintain one personal checking account. All of defendant's income, "monetary gains," or other pecuniary
                  proceeds shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other
                  bank accounts, including any business accounts, shall be disclosed to the Probation Officer upon request.

              12. The defendant shall submit his or her person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C.
                  § 1030(e)(1)), cell phones, other electronic communications or data storage devices or media, email accounts, social media
                  accounts, cloud storage accounts, or other areas under the defendant’s control, to a search conducted by a United States
                  Probation Officer or law enforcement officer. Failure to submit to a search may be grounds for revocation. The defendant
                  shall warn any other occupants that the premises may be subject to searches pursuant to this condition. Any search pursuant
                  to this condition will be conducted at a reasonable time and in a reasonable manner upon reasonable suspicion that the
                  defendant has violated a condition of his supervision and that the areas to be searched contain evidence of this violation.

              13. The defendant shall possess and use only those computers and computer-related devices, screen user names, passwords,
                  email accounts, and internet service providers (ISPs), social media accounts, messaging applications and cloud storage
                  accounts, that have been disclosed to the Probation Officer upon commencement of supervision. Any changes or additions
                  are to be disclosed to the Probation Officer prior to the first use. Computers and computer-related devices include personal
                  computers, internet appliances, electronic games, cellular telephones, digital storage media, and their peripheral equipment,
                  that can access, or can be modified to access, the internet, electronic bulletin boards, and other computers.

              14. All computers, computer-related devices, and their peripheral equipment, used by the defendant shall be subject to search,
                  seizure and computer monitoring. This shall not apply to items used at the employment site that are maintained and
                  monitored by the employer.

              15. The defendant shall comply with the rules and regulations of the Computer Monitoring Program. The defendant shall pay the
                  cost of the Computer Monitoring Program.

              16. The defendant shall cooperate in the collection of a DNA sample from the defendant.

It is ordered that the defendant shall pay to the United States a special assessment of $200 which is due immediately. Any unpaid balance shall
be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to the Bureau of Prisons' Inmate Financial
Responsibility Program.

It is ordered that the defendant shall pay restitution in the total amount of $14,000,000 pursuant to 18 U.S.C. § 3663A.

The amount of restitution ordered shall be paid as follows:
        Victim Name                                                             Amount of Loss
        Korea Investment Global Contents Fund                                 $8,000,000.00
        C/O: Lee H. Rubin
        Mayer Brown LLP
        Two Palo Alto Square
        Palo Alto, CA 94022

           PGA Yungpark Capital Ltd.                                          $6,000,000.00
           C/O: Lee H. Rubin
           Mayer Brown LLP
           Two Palo Alto Square
           Palo Alto, CA 94022

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Restitution shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to the Bureau of Prisons'
Inmate Financial Responsibility Program. If any amount of the restitution remains unpaid after release from custody, nominal monthly
payments of at least 10 percent of defendant's gross monthly income but not less than $200, whichever is greater, shall be made during the
period of supervised release and shall begin 30 days after the commencement of supervision. Nominal restitution payments are ordered as the
Court finds that the defendant's economic circumstances do not allow for either immediate or future payment of the amount ordered.
If the defendant makes a partial payment, each payee shall receive approximately proportional payment unless another priority order or
percentage payment is specified in the judgment.

Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant does not have the ability to pay
interest. Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

The defendant shall comply with Second Amended General Order No. 20-04.

Pursuant to Guideline §5E1.2(a), all fines are waived as the Court finds that the defendant has established that he is unable to pay and is not
likely to become able to pay any fine.

The Court recommends that the Bureau of Prisons conduct a mental health evaluation of the defendant and provide all necessary treatment.

The Court authorizes the Probation & Pretrial Services Office to disclose the Presentence Report to the substance abuse treatment provider to
facilitate the defendant's treatment for narcotic addiction or drug dependency. Further redisclosure of the Presentence Report by the treatment
provider is prohibited without the consent of the sentencing judge.

Defendant informed of his right to appeal.

On the Government's motion, all remaining counts of the underlying Information, ordered dismissed.

The Court recommends that the defendant be allowed to participate in the Bureau of Prison’s Residential Drug Abuse Program (RDAP).

The Court recommends the defendant be placed in a Bureau of Prisons facility located in Southern California.

The bail is ORDERED forfeited in the amount of $10,000.00.




 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            11/15/2021
            Date                                                    U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                    Clerk, U.S. District Court




            11/15/2021                                        By    C. Badirian
            Filed Date                                              Deputy Clerk


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 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local crime;    9.     The defendant must not knowingly associate with any persons
 2.    The defendant must report to the probation office in the federal                engaged in criminal activity and must not knowingly associate with
       judicial district of residence within 72 hours of imposition of a               any person convicted of a felony unless granted permission to do so
       sentence of probation or release from imprisonment, unless                      by the probation officer. This condition will not apply to intimate
       otherwise directed by the probation officer;                                    family members, unless the court has completed an individualized
 3.    The defendant must report to the probation office as instructed by the          review and has determined that the restriction is necessary for
       court or probation officer;                                                     protection of the community or rehabilitation;
 4.    The defendant must not knowingly leave the judicial district without     10.    The defendant must refrain from excessive use of alcohol and must
       first receiving the permission of the court or probation officer;               not purchase, possess, use, distribute, or administer any narcotic or
 5.    The defendant must answer truthfully the inquiries of the probation             other controlled substance, or any paraphernalia related to such
       officer, unless legitimately asserting his or her Fifth Amendment               substances, except as prescribed by a physician;
       right against self-incrimination as to new criminal conduct;             11.    The defendant must notify the probation officer within 72 hours of
 6.    The defendant must reside at a location approved by the probation               being arrested or questioned by a law enforcement officer;
       officer and must notify the probation officer at least 10 days before    12.    For felony cases, the defendant must not possess a firearm,
       any anticipated change or within 72 hours of an unanticipated change            ammunition, destructive device, or any other dangerous weapon;
       in residence or persons living in defendant’s residence;                 13.    The defendant must not act or enter into any agreement with a law
 7.    The defendant must permit the probation officer to contact him or her           enforcement agency to act as an informant or source without the
       at any time at home or elsewhere and must permit confiscation of                permission of the court;
       any contraband prohibited by law or the terms of supervision and         14.    The defendant must follow the instructions of the probation officer
       observed in plain view by the probation officer;                                to implement the orders of the court, afford adequate deterrence from
 8.    The defendant must work at a lawful occupation unless excused by                criminal conduct, protect the public from further crimes of the
       the probation officer for schooling, training, or other acceptable              defendant; and provide the defendant with needed educational or
       reasons and must notify the probation officer at least ten days before          vocational training, medical care, or other correctional treatment in
       any change in employment or within 72 hours of an unanticipated                 the most effective manner.
       change;




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   X The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check or money
 order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number. Payments
 must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
                         States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to theProbation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.


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                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
  Defendant delivered on                                                                     to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal

                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date




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